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11                                UNITED STATES DISTRICT COURT
12                             NORTHERN DISTRICT OF CALIFORNIA
13                                        OAKLAND DIVISION
14
     UNITED STATES OF AMERICA,           )                No. CR 09 - 0504 CW
15                                       )
                       Plaintiff,        )
16               v.                      )                STIPULATION TO MODIFY
                                         )                BRIEFING SCHEDULE;
17                                       )                [PROPOSED] ORDER
     SHOLEH A. HAMEDANI,                 )
18   NASSER V. HAMEDANI,                 )
                                         )
19                     Defendants.       )
     ____________________________________)
20
21          WHEREAS, the government has provided discovery to counsel for both defendants and
22   where the documents and images provided to date are in excess of 100,000 imaged pages, such
23   that the parties consider this matter to be complex pursuant to 18 U.S.C. § 3161(h)(7)(B)(ii);
24          WHEREAS, counsel for the defendants are in the process of reviewing the discovery
25   produced to date and need additional time to complete the review and analysis of the discovery
26   provided by the government to date, and the forthcoming discovery, in order to effectively
27   prepare motions, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv);
28          WHEREAS, this court has already deemed the case to be complex and excluded time

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1    pursuant to 18 U.S.C. § 3161(h)(7)(B)(ii) until the trial date presently set for March 5, 2012 ;
2           WHEREAS, the parties are actively involved in the negotiation of a settlement short of
3    the filing of motions or trial, but the Hamedani family experienced a death in the family during
4    the week of October 10 which has interrupted the negotiations;
5           WHEREAS, Pretrial Motions are currently due on October 12, 2011 and counsel for the
6    parties jointly agree and stipulate that a continuance of the briefing schedule is necessary;
7           THEREFORE, the parties mutually and jointly stipulate that the MOTIONS BRIEFING
8    SCHEDULE be MODIFIED such that Defense motions shall be due on October 19, 2011;
9    Government Opposition shall be due on November 9, 2011; and Defense Replies shall be due on
10   November 16, 2011. The MOTIONS HEARING shall remain set on November 23.
11          The parties also agree, and the Court has found previously, that the case involves
12   government allegations of a complicated fraud scheme with substantial evidence, both paper and
13   electronic, and that thus “the case is so unusual or so complex, due to . . . the nature of the
14   prosecution, or the existence of novel questions of fact or law, that it is unreasonable to expect
15   adequate preparation for pretrial proceedings or for the trial itself within the time limits
16   established by the Speedy Trial Act.” See 18 U.S.C. § 3161(h)(7)(B)(ii).
17          Finally, the parties agree, knowing and agreeing that time has been excluded until March
18   5, 2012, that, as an additional basis for exclusion, the ends of justice served by excluding time
19   until the filing of motions on October 19, 2011, outweigh the best interest of the public and the
20   defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).
21   STIPULATED:
22
23   DATED:10/12/11                                       /s
                                                    JOHN PAUL REICHMUTH
24                                                  Attorney for SHOLEH A. HAMEDANI
25
26
27   DATED: 10/12/11                                      /s
                                                    RANDY SUE POLLOCK
28                                                  Attorney for NASSER V. HAMEDANI

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2
     DATED:10/12/11                                      /s
3                                                   TIMOTHY J. LUCEY
                                                    Assistant United States Attorney
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5
                                                   ORDER
6
            For good cause shown, the Court MODIFIES the MOTIONS BRIEFING SCHEDULE
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     and sets the following briefing schedule: Pretrial Motions shall be filed by October 19, 2011;
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     Opposition thereto shall be filed by November 9, 2011; and Replies shall be filed by October 16,
9
     2011. The MOTIONS HEARING shall remain set on November 23, 2011 at 2:30 p.m.
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            Time previously has been excluded in the case until March 5, 2012, and the Court finds
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     and the parties agree that, as an additional basis for excluding time from the date of this order
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     until the filing of motions on October 19, 2011, failing to grant a continuance until October 19,
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     2011 would unreasonably deny the defendants continuity of counsel, and also would deny
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     defense counsel the reasonable time necessary for effective preparation, taking into account the
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     exercise of due diligence. See 18 U.S.C. § 3161(h)(7)(B)(iv).
16
            The parties also agree, and the Court finds and holds, that the case involves government
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     allegations of a complicated fraud scheme with substantial evidence, both paper and electronic,
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     and that thus “the case is so unusual or so complex, due to . . . the nature of the prosecution, or
19
     the existence of novel questions of fact or law, that it is unreasonable to expect adequate
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     preparation for pretrial proceedings or for the trial itself within the time limits established” by the
21
     Speedy Trial Act. See 18 U.S.C. § 3161(h)(7)(B)(ii).
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1       Finally, the parties agree, and the Court finds and holds, that the ends of justice served by
2    excluding time from the date of this Order until the filing of motions on October 19, 2011
3    outweigh the best interest of the public and the defendants in a speedy trial. Id. § 3161(h)(7)(A).
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6           IT IS SO ORDERED.
7
8    DATED:________________                               _______________________________
                                                          HON. CLAUDIA WILKEN
9                                                         United States District Judge
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